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               United States Court of Appeals
                                For the First Circuit
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 No. 17-1569
                              UNITED STATES OF AMERICA,

                                           Appellee,

                                               v.

                                      OBINNA OBIORA,

                                     Defendant, Appellant.
                                     __________________

                                         JUDGMENT

                                  Entered: December 11, 2018

         This cause came on to be heard on appeal from the United States District Court for the
 District of Massachusetts and was argued by counsel.

       Upon consideration whereof, it is now here ordered, adjudged and decreed as follows:
 Obinna Obiora's conviction and sentence are affirmed.


                                                    By the Court:

                                                    Maria R. Hamilton, Clerk




 cc: Benjamin Brooks, Cynthia A. Young, Randall Ernest Kromm, Leah Belaire Foley, Eric Rosen
 & Obinna Obiora.
